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                                                   April 23, 2019

     VIA E-FILING
     Hon. Lois H. Goodman, USMDJ
     United States District Court of New Jersey
     Clarkson S. Fisher Building & U.S. Courthouse
     402 East State Street Room 2020
     Trenton, NJ 08608

               Re:       Susanne LaFrankie-Principato v. New Jersey Board of Public Utilities, et al.
                         Docket No. 3:18-cv-02258-FLW-LHG

     Dear Judge Goodman:

               Please accept this letter in response to the defendant’s correspondence of April 22, 2019.

     I note that the Defendant submitted this letter to the Court on the same date it wrote to our office

     demanding additional discovery. In light of that, I believe that some of the issues can be

     resolved between counsel and without the need for the Court’s intervention. There are, however,

     some requests to which Plaintiff will maintain her objection.

               Defendant’s requests include additional text messages, information from medical

     providers, plaintiff’s calendar, and plaintiff’s son’s medical records.




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        A. Text messages

            Plaintiff has performed a diligent search of her telephone and produced the relevant

            text messages within her possession. To the extent that defendant believes they are

            incomplete or have not been completely produced, plaintiff can search her cellular

            telephone and either produce any remaining conversations or certify that they have

            been produced in their entirety such as they exist. This circumstance does not,

            however, require an intrusion by the State into Plaintiff’s private cellular telephone.

        B. Information from medical providers

            Defendant seeks to go on a fishing expedition through plaintiff’s medical history.

            Notably, Defendant’s correspondence does not address the fact that Plaintiff disclosed

            the identity of her counselor with whom she discussed the allegations. Plaintiff did

            not treat with Dr. Klein or Dr. Cooperstein for any issues relevant to the litigation.

            Further, plaintiff has not produced any expert testimony and does not intend to

            produce expert testimony in this matter. Instead, plaintiff will be presenting the

            damages as statutory damages, more commonly referred to as “garden variety.”

            “[F]or policy reasons, a waiver of the psychotherapist-patient privilege should not be

            narrowly construed, particularly in civil rights cases where Congress has placed

            much importance on litigants' access to the courts and the remedial nature of such

            suits.” Fitzgerald v. Cassil 216 F.R.D. 632, 633 (N.D. Cal. 2003) (emphasis added).

            If the court were to adopt the Defendant’s reasoning, every time a plaintiff makes a

            statutory claim seeks only statutory emotional distress damages for humiliation,

            embarrassment and indignity, even where the plaintiff does not seek to introduce any

            medical or psychological evidence, a defendant would be permitted to conduct a




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            “wholesale investigation” into a plaintiff’s entire medical and psychiatric history.

            Plaintiff can brief this issue further at the Court’s request.

        C. Plaintiff’s calendar

            This issue is moot as there no objection to producing the calendar, should Plaintiff

            have it within her possession.

        D. Plaintiff’s son’s medical records

            Plaintiff objects to the further disclosure of any further records of her son’s medical

            care. Importantly, Plaintiff’s son is not a party to this matter and has a privacy

            interest in his own records. Plaintiff has already produced relevant records to support

            her need for FMLA leave at the time her application was made. There is nothing

            further that is “notable” about Plaintiff’s son’s hospitalization. Plaintiff respectfully

            requests that this document request be denied.

         Defendant does not announce in its correspondence what relief it seeks from the Court

but presumably they are seeking an order compelling production of the above described

discovery. For all of the foregoing reasons, that application should be denied. We thank the

Court for its consideration of this matter.



                                           Very truly yours,

                                   COSTELLO & MAINS, LLC



                                By:     /s/ Daniel T. Silverman
                                         Daniel T. Silverman
DTS/jlp
Cc: Susanne Lafrankie-Principato (via regular mail)
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